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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO. 1:23-cv-23791

  CHRISTON KNOWLES,
  an Individual,

         Plaintiff,
  v.

  PRESTIGE AUTO MIAMI LLC,
  a Florida limited liability company, and
  CIG FINANCIAL
  a California limited liability company,

         Defendants.
                                               /

                MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS.


         COMES NOW, undersigned counsel, Carlos F. Rodriguez (“Mr. Rodriguez”) pursuant to

  Rule 11. 1 (D)(3) of the Local Rules of the United States District Court for the Southern District

  of Florida, files this Motion to Withdraw as Counsel ("Motion") in the above-referenced matter.

  In support of said Motion, Carlos F. Rodriguez states the following:

  1.     Irreconcilable differences have developed between Defendants, PRESTIGE AUTO

  MIAMI LLC, and CIG FINANCIAL (the “Defendants”), and Mr. Rodriguez.

  2.     In order to avoid any possible or potential conflicts, Mr. Rodriguez request leave to

  withdraw as counsel for Defendants.

  3.     More specifically, undersigned counsel has made multiple attempts (at least ten), via email,

  telephone conference, and text messages, to communicate with the representative for Defendant

  PRESTIGE AUTO MIAMI LLC, who has failed to respond to all attempts to communicate, and

  thus has compromised undersigned counsel’s ability to effectively represent both of the

  Defendants.
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  4.      The granting of this Motion will not delay this matter and not otherwise be inequitable.

  5.      Defendants will not be unfairly prejudiced by the withdrawal of Mr. Rodriguez.

          WHEREFORE, Attorney Carlos F. Rodriguez, Esq., and the law firm of ERRA LAW

  respectfully requests that they be permitted to withdraw as attorneys of record for Defendants,

  PRESTIGE AUTO MIAMI LLC, and CIG FINANCIAL, and any other relief to which they may

  be entitled.



                      CERTIFICATE OF GOOD FAITH CONFERENCE;
                       CONFERRED AND MOTION IS UNOPPOSED

          Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that on February 27th, 2024, counsel

  for the movant conferred with counsel for the Plaintiffs and in a good faith informed Plaintiff’s

  counsel of undersigned counsel’s intent to withdraw from this case.                Plaintiff counsel

  acknowledged he does not oppose undersigned counsel’s withdrawal.

                                                           Respectfully submitted,

                                                           /s/ Carlos F. Rodriguez
                                                           CARLOS F. RODRIGUEZ, ESQUIRE
                                                           Florida Bar No. 97655
                                                           ERRA LAW
                                                           2601 S. Bayshore Dr., 18th Floor
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

  electronic filing with the Clerk of the court via CM/ECF, which will send notice of electronic filing

  to all counsel of record, and by regular mail to the parties listed in the Service List for manual

  service on this 13tht day of March, 2024.

                                                ERRA LAW
                                                2601 S. Bayshore Dr., 18th Floor
                                                Coconut Grove, Florida 33133
                                                Telephone:   (305) 444-5969
                                                Primary:     cr@erralaw.com
                                                Secondary:   service@erralaw.com

                                          BY: ___/s/ Carlos F. Rodriguez__________
                                               CARLOS F. RODRIGUEZ, ESQUIRE
                                               Florida Bar No. 97655




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